                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL AMICK and SARA AMICK,                         )
                                                      )
                                    Plaintiffs,       )
       vs.                                            )       Case No. 17-CV-03391
                                                      )
OREGON COUNTY, MISSOURI,                              )
ALTON, MISSOURI, SAM BARTON,                          )
KASS BRAZEAL, MICHAEL JOHNSON,                        )
ERIC KING, DARRIN SORRELL,                            )
TIM WARD, and RUSTY WARREN,                           )
                                                      )
                                    Defendants.       )

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that complete copies of Defendants Oregon County,

Eric King, Darrin Sorrell and Tim Ward’s Fourth Supplemental Rule 26 Disclosures were served

by email to counsel on the 12th day of February, 2019 upon:

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                                    Respectfully submitted,

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